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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,                    F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              April 27, 2020




                                         /s/ Alysson Mills
                                 Alysson Mills, Miss. Bar No. 102861
                                 Fishman Haygood, LLP
                                 201 St. Charles Avenue, Suite 4600
                                 New Orleans, Louisiana 70170
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                                 Fax: 504-586-5250
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                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
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Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on February 28, 2020, and this report picks up where that report left off. It does not repeat the same
information, except as necessary for context. It contains the following parts:

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                      Recent filings or events—criminal                    3
                      Recent filings or events—civil                       3
                      Receiver’s actions in the past 60 days               8
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        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




                                                                                                    2
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Recent filings or events—criminal

        United States v. Adams, No. 3:18-cr-88

        None. Lamar Adams is serving a 19.5-year sentence in federal prison.


        United States v. McHenry, No. 3:19-cr-20

        None. Bill McHenry was acquitted on December 5, 2019, after a trial in which the U.S.
Attorney’s Office called only one victim to testify.

                                                 * * *
        After Adams, McHenry is the only person to have been charged in connection with
the Madison Timber Ponzi scheme. I am hopeful that criminal authorities are not finished
with their work. Victims are right to expect that criminal authorities will pursue justice in
this case.


Recent filings or events—civil

        Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

        On April 23, 2020, the Court entered an order reiterating the stay of litigation against
Adams, Madison Timber, and their agents pending the administration of the Receivership Estate,
but lifting the stay of litigation against Mike Billings and Bill McHenry.1 Any party wishing to
file a lawsuit against Billings, McHenry, or their companies may do so.


        Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
        Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

        The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment




1
 Doc. 200, Securities & Exchange Commission v. Arthur Lamar Adams and Madison Timber Properties, LLC, No.
3:18-cv-252 (S.D. Miss.).
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of new investors to Madison Timber. Wayne Kelly and Mike Billings settled with the Receivership
Estate. I obtained a final judgment against Bill McHenry in the amount of $3,473,320.2

         McHenry has not paid the judgment. On January 27, 2020, he filed a Chapter 7 petition
for bankruptcy.3 I attended a meeting of McHenry’s creditors on March 4, 2020, and made
requests of him for documents relating to his finances.

         On April 3, 2020, I filed a motion to compel that asks the bankruptcy court to order
McHenry to turn over documents.4 A bankruptcy petitioner must make a full disclosure of his
finances. McHenry, however, has failed to produce, among other things, documents relating to
First South Investments, the single-member LLC by which he purports to conduct business. The
motion is available at madisontimberreceiver.com. A hearing on the motion is set for May 4, 2020.

         On April 23, 2020, I filed an adversary complaint in McHenry’s bankruptcy proceedings
that objects to the discharge of his debt to the Receivership Estate on the basis, among others, that
the debt flows from his false pretenses, false representations, and fraud.5 The complaint is
available at madisontimberreceiver.com.


         Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
         Related: In re: Jon Darrell Seawright, No. 19-bk-3921, No. 20-ap-11

         The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, originally filed December 19, 2018, alleges the law firms
and their agents lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber. None of the defendants has settled with the Receivership Estate. On
November 22, 2019, I filed an amended complaint.

         On April 22, 2020, the Court announced it would hold a settlement conference on May 27,
2020. The Court instructed:


2
  Docs. 62, 63, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss).
3
  Doc. 1, In re: William Byrd McHenry, Jr., No. 20-bk-268 (Bankr. S.D. Miss).
4
  Doc. 68, In re: William Byrd McHenry, Jr., No. 20-bk-268 (Bankr. S.D. Miss).
5
  Doc. 1, Alysson Mills v. William Byrd McHenry, Jr., No. 20-ap-22 (Bankr. S.D. Miss).
                                                                                                   4
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        All parties, including a person with full settlement authority, are required to be
        present at the conference unless excused by the Court. If a party believes the
        scheduled settlement conference would not be productive and should be cancelled,
        the party is directed to inform the Court ….

        Meanwhile, as for individual defendants:

        Butler Snow: The Butler Snow defendants filed a motion to dismiss in which they argued
that the case against them should be submitted to private arbitration. After the Court denied Butler
Snow’s motion to dismiss,6 Butler Snow appealed to the Fifth Circuit. Butler Snow filed its
appellant’s brief on December 2, 2019, and I filed the Receivership Estate’s response on January
23, 2020. Those filings are available at madisontimberreceiver.com.

        Baker Donelson: Baker Donelson filed a motion to dismiss the amended complaint on
December 20, 2019, and I filed the Receivership Estate’s response on January 10, 2020. Those
filings are available at madisontimberreceiver.com.

        Alexander Seawright: The Alexander Seawright defendants also filed a motion to dismiss
the amended complaint on December 20, 2019, and I filed the Receivership Estate’s response on
January 10, 2020. Those filings are available at madisontimberreceiver.com.

        Jon Seawright: Seawright filed a Chapter 7 petition for bankruptcy on November 3, 2019.7
On February 7, 2020, I filed an adversary complaint that objects to the discharge of his debt to the
Receivership Estate on the basis that the debt flows from his false pretenses, false representations,
and fraud,8 and on March 16, 2020, I filed a motion to withdraw the reference—that is, to transfer
the complaint from the bankruptcy court to the district court.9 Those filings are available at
madisontimberreceiver.com.




6
  Doc. 48, Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866 (S.D. Miss).
7
  Doc. 1, In re: Jon Darrell Seawright, No. 19-bk-3921 (Bankr. S.D. Miss).
8
  Doc. 1, Alysson Mills v. Jon Darrell Seawright, No. 20-ap-11 (Bankr. S.D. Miss).
9
  Doc. 24, Alysson Mills v. Jon Darrell Seawright, No. 20-ap-11 (Bankr. S.D. Miss); Doc. 1, Alysson Mills v. Jon
Darrell Seawright, No. 20-cv-232 (S.D. Miss.).
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       Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

       Murphree and Stewart Patridge, former agents of BankPlus and Mutual of Omaha, filed
answers to the complaint. BankPlus; Gee Gee Patridge, Vice President and Chief Operations
Officer of BankPlus; Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch;
and Mutual of Omaha all filed motions to dismiss the claims against them, which I opposed. The
answers, motions, and related filings are available at madisontimberreceiver.com.

       On March 20, 2020, the Court held a telephonic status conference during which it inquired
whether the legal issues raised by the defendants’ motions to dismiss are similar to the legal issues
raised by defendants in other of the Receivership Estate’s lawsuits. After, on March 31, 2020, the
Court entered an order “temporarily staying this case pending a ruling on the outstanding motions
in Mills v. Baker Donelson et al., No. 3:18-cv-866.”


       Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

       Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen; Tammie Elsen; Courtney
Herring; Diane Lofton filed answers to the complaint. The UPS Store, Inc.; Rawlings & MacInnis,


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PA; Tammy Vinson; and Jeannie Chisholm filed answers to the complaint after the Court denied
their motions to dismiss. Those filings are available at madisontimberreceiver.com.

        The Court has ordered the parties to proceed with discovery, “which in a case about
notarization should not be overly complex.”10

        On December 13, 2019, I filed a motion for protective order that asks the Court to order
the defendants to treat victims’ names and identifying information as confidential. As of this filing,
the Court had not addressed the motion for protective order. The motion and related filings are
available at madisontimberreceiver.com.

        Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

        None. On August 27, 2019, the Securities and Exchange Commission obtained a judgment
against Kelly permanently enjoining him from further violations of federal securities laws;
disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.11


        Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

        On December 30, 2019, I filed a complaint against Trustmark National Bank, Bennie Butts,
Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial institutions and
professionals who provided banking services that enabled and sustained the Madison Timber Ponzi
scheme. The complaint is available at madisontimberreceiver.com. The defendants obtained
additional time to respond to the complaint due to the coronavirus pandemic. Their responses are
due April 30, 2020.

        Securities & Exchange Commission v. Billings, et al., No. 3:20-cv-50

        None. On March 3, 2020, the Securities and Exchange Commission obtained a judgment
against Billings permanently enjoining him from further violations of federal securities laws;




10
  Doc. 49, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss).
11
  Docs. 5, 6, Securities & Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
585 (S.D. Miss.).
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disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.12


Receiver’s actions in the past 60 days

        Since I filed my last report on February 28, 2020, I:


        Continued to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

        I monitored Bill McHenry’s bankruptcy proceedings and participated as necessary to
protect the Receivership Estate’s interests. As noted above, on April 3, 2020, I filed a motion to
compel that asks the bankruptcy court to order McHenry to turn over documents. On April 23,
2020, I filed an adversary complaint in McHenry’s bankruptcy proceedings that objects to the
discharge of his debt to the Receivership Estate on the basis, among others, that the debt flows
from his false pretenses, false representations, and fraud.


        Continued to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

        I continued to litigate while awaiting the Court’s rulings on the motions to dismiss filed by
Baker Donelson and Alexander Seawright and the Fifth Circuit’s decision in Butler Snow’s appeal.

        I monitored Jon Seawright’s bankruptcy proceedings and participated as necessary to
protect the Receivership Estate’s interests. I previously filed an adversary complaint that objects
to the discharge of his debt to the Receivership Estate on the basis that the debt flows from his
false pretenses, false representations, and fraud. As noted above, on March 16, 2020, I filed a
motion to withdraw the reference—that is, to transfer the complaint from the bankruptcy court to
the district court.


        Continued to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

        I continued to litigate while awaiting the Court’s rulings on the motions to dismiss filed by
BankPlus; Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason


12
  Doc. 5, Securities & Exchange Commission v. Michael Douglas Billings and MDB Group, LLC, No. 3:20-cv-50
(S.D. Miss.).
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Cowgill; and Mutual of Omaha. As noted above, I participated in the Court’s March 20, 2020
telephonic status conference.


       Continued to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       I continued to litigate while awaiting the Court’s ruling on the motion I filed that asks the
Court to order the defendants to treat victims’ names and identifying information as confidential.


       Continued to litigate Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       I continued to litigate while awaiting the defendants’ responses to the complaint.


       Continued to account for “commissions,” gifts, and proceeds

       I continued to account for “commissions” paid by Adams, Madison Timber, or Wayne
Kelly to individuals in exchange for their assistance in recruiting new investors to the Madison
Timber Ponzi scheme and to account for gifts that Adams or Kelly made with proceeds from
Madison Timber.


       Continued to review records

       To date I have reviewed records from Wayne Kelly, Mike Billings, Alexander Seawright,
Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River Hills Bank,
Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit, Adams’s and
Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison Trust Company
(no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continued to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber.


       Worked with LLCs of which Adams was a member

       Adams was a member of at least six active limited liability companies (“LLCs”) that own
real estate. The Receivership Estate has already resolved its interests in 707, LLC; Delta Farm
Land Investments, LLC; KAPA Breeze, LLC; and Mallard Park, LLC. The remaining LLCs are
MASH Farms, LLC and Oxford Springs, LLC.
                                                                                                  9
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       The Receivership Estate now owns a 100% interest in Oxford Springs, LLC, debt-free. It
will retain all proceeds from the future sale of the LLC’s principal asset, 2,300+/- acres of
undeveloped land in Lafayette County, Mississippi. I have spent time on the property recently and
have undertaken several cost-effective improvements to maximize its value. I recently renewed
an agricultural lease with a farmer who grows soybeans and cotton on the property. I retained a
broker to market the property nationally.


       Conferred with federal and state authorities

       I continued to confer with federal and state authorities, including the FBI, the U.S.
Attorney’s Office, the Securities and Exchange Commission, and the Mississippi Secretary of
State’s Office.


       Communicated with investors in Madison Timber

       I continued to communicate with investors in Madison Timber via phone, letter, email, and
in-person meetings. I speak to investors almost daily.


       Interviewed persons with knowledge

       I continued to interview individuals with first-hand knowledge of matters bearing on the
Receivership Estate.


       Researched legal claims against third parties

       My colleagues and I continued to research legal claims against third parties as new facts
are discovered. I do not publish our assessments here because to do so would be to telegraph our
legal strategies to future defendants.


Receiver’s plan for the next 60 days

       Continue to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       I will continue to monitor Bill McHenry’s bankruptcy proceedings and participate as
necessary to protect the Receivership Estate’s interests. I will continue to press for the disclosure

                                                                                                  10
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of documents relating to his finances and to forcefully oppose the discharge of his debt to the
Receivership Estate. I will attend the bankruptcy court’s hearing on my motion to compel
McHenry to turn over documents on May 4, 2020.


       Continue to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       I will continue to litigate and assess all possible outcomes while awaiting the Court’s
rulings on the motions to dismiss filed by Baker Donelson and Alexander Seawright and the Fifth
Circuit’s decision in Butler Snow’s appeal. I will attend the Court’s settlement conference on May
27, 2020.

       I will continue to monitor Jon Seawright’s bankruptcy proceedings and participate as
necessary to protect the Receivership Estate’s interests. I expect his response to my adversary
complaint on April 30, 2020, and I will respond accordingly.


       Continue to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       I will continue to litigate and assess all possible outcomes while awaiting the Court’s
rulings on the motions to dismiss filed by BankPlus; Gee Gee Patridge, Vice President and Chief
Operations Officer of BankPlus; Jason Cowgill; and Mutual of Omaha. As noted above, on March
31, 2020, the Court entered an order “temporarily staying this case pending a ruling on the
outstanding motions in Mills v. Baker Donelson et al., No. 3:18-cv-866.”


       Continue to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       The parties are engaged in discovery. I will continue to litigate while awaiting the Court’s
ruling on the motion I filed that asks the Court to order the defendants to treat victims’ names and
identifying information as confidential.


       Continue to litigate Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       I expect the defendants’ responses to the complaint on April 30, 2020, and I will respond
accordingly.



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       Continue to account for “commissions,” gifts, and proceeds

       I will to continue to account for “commissions” paid by Adams, Madison Timber, or
Wayne Kelly to individuals in exchange for their assistance in recruiting new investors to the
Madison Timber Ponzi scheme and to continue to account for gifts that Adams or Wayne Kelly
made with proceeds from Madison Timber.

       My practice has been to contact individuals who received “commissions,” gifts, or
proceeds and offer to negotiate repayment, provided the individual agrees to make complete
financial disclosures. Stu Anderson, who received as much as $130,520 in “commissions” paid by
Wayne Kelly in exchange for his assistance in recruiting new investors to the Madison Timber
Ponzi scheme, has not made the financial disclosures requested of him. I intend to take legal action
against Anderson as necessary to enforce the Receivership Estate’s rights.


       Monetize Adams’s interests in the remaining two LLCs

       For the remaining two LLCs, my desire is to liquidate the Receivership Estate’s interests
to maximize value to the Receivership Estate:

       Mash Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I want to sell the Receivership Estate’s 25% interest on terms that
are in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s
other members but I will consider any offer by any party that I believe is fair, and I encourage
interested parties to contact me directly (504-586-5253). If I am unable to sell the Receivership
Estate’s interest, I will evaluate other options available to the Receivership Estate.

       Oxford Springs, LLC: As noted above, the Receivership Estate now owns 100% of the
LLC. I want to sell the LLC’s principal asset: 2,300+/- acres of undeveloped land in Lafayette
County, Mississippi. I will consider any offer by any party that I believe is fair, and I encourage
interested parties to contact me directly (504-586-5253).




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         File additional lawsuits

         I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it.

         I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.


         Continue communicating with investors

         I will continue to communicate with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.


Summary of status of assets

         My end goal is to make an equitable distribution to victims with the money I recover.
Although I continue to recover money from various third parties, the money that I have recovered
to date still would not go far. As I have advised, it may take a long time and a lot of work to recover
enough money to make a meaningful distribution, but I am committed to pursuing recoveries for
the benefit of victims so long as the Court allows. The Receivership Estate’s most valuable assets
are the lawsuits it has filed or intends to file.

         The current status of the Receivership Estate’s assets is as follows:




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Receivership Estate’s account at Hancock Bank                          current balance $6,685,910.56
Previous balance as of February 28, 2020              $6,675,469.48
Interest                                                +$10,441.08


Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866                        litigation ongoing
Lawsuit to hold law firms liable for debts of the Receivership
Estate

Alysson Mills v. BankPlus, et al., No. 3:19-cv-196                           litigation ongoing
Lawsuit to hold bank and financial services company liable for
debts of the Receivership Estate

Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364                litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership Estate

Alysson Mills v. Trustmark, et al., No. 3:19-cv-941                          litigation ongoing
Lawsuit to hold banks liable for debts of the Receivership Estate

Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679                $3,473,320 judgment
Lawsuit to recover commissions from recruiters                                 against McHenry
                                                                               settlements with
                                                                              Billings and Kelly
                                                                                  (see below)

Settlement—Mike Billings                                                     received $325,000
                                                                             plus 5% interest in
                                                                            Oxford Springs, LLC
                                                                       promissory note in the original
                                                                        principal amount of $500,000
                                                                                 outstanding
                                                                           duty to restate taxes,
                                                                        with 90% of any refunds to
                                                                           Receivership Estate

Settlement—Wayne Kelly                                                     received $1,384,435.17
                                                                       plus interests in 707, 315 Iona,
                                                                          and KAPA Breeze, LLCs
                                                                            received $100,000 in
                                                                       satisfaction of promissory note
                                                                           duty to restate taxes,
                                                                        with 90% of any refunds to
                                                                           Receivership Estate

 1/4       Mash Farms, LLC                                                    assessing options
           808+ acres with hunting camp in Sunflower County
           Purchased in 2014 for $1,600,000

                                                                                                       14
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        Encumbered by Trustmark Bank mortgage
        Owe approximately $900,000

100% Oxford Springs, LLC                                                      for sale
     2,300+/- acres undeveloped land in Lafayette County
     Unencumbered

 1/6    707, LLC                                                   LLC sold principal asset and
        263+ acres recreational land in Holmes County             dissolved; tendered $6,994.09
        Purchased in 2009                                       representing Adams’s, Kelly’s, and
        Encumbered by First Commercial Bank mortgage                  McHenry’s interests to
        Owe approximately $368,000                                   the Receivership Estate

 1/3    Delta Farm Land Investments, LLC                           LLC sold principal asset and
        1170+ acres farmland in Oktibbeha County                 dissolved; tendered $323,440.88
        Purchased in 2014 for $2,796,100                         representing Adams’s interest to
        Encumbered by Trustmark Bank mortgage                         the Receivership Estate
        Owe approximately $2,200,000

 1/2    KAPA Breeze LLC                                           sold the Receivership Estate’s
        1.5+/- acres mixed-use land on Highway 30A in Florida         interest for $700,000
        Purchased in 2017 for approximately $1,900,000
        Encumbered by Jefferson Bank mortgage
        Owe approximately $1,365,000

 1/4    Mallard Park, LLC                                         sold the Receivership Estate’s
        1,723 acres with hunting lodge in Humphreys County            interest for $175,000
        Purchased in 2016 for $2,593,500
        Encumbered by Southern AgCredit mortgage
        Owe approximately $2,000,000

Hartford Life and Annuity Insurance Co. life insurance policy       surrendered for $167,206.60

Lincoln National Life Insurance Co. life insurance policy             surrendered for $3,678.45

Settlement—Frank Zito                                                    received $100,000,
                                                                           first installment
                                                                    received $100,000, second
                                                                       and final installment,
                                                                          June 12, 2019

Settlement—Ole Miss Athletics Foundation                              received $155,084.50,
                                                                         first installment
                                                                      received $155,084.50,
                                                                   second and final installment,
                                                                          April 17, 2019

Marital Property Settlement—Vickie Lynn Adams                           received $58,247



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Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy

Settlement—Adams children                                                      received $170,000

Alexander Seawright—UPS’s funds*                                               holding $100,000

2018 King Ranch Ford F150 truck                                                 sold for $42,750

Condo in Calton Hill subdivision in Oxford, Mississippi                      received $139,919.09
Unencumbered                                                                 in proceeds from sale

Settlement—Philippi Freedom Ministries                                         received $16,125

Settlement—Rick Hughes Evangelistic Ministries                                received $43,657.95

Jewelry                                                                              for sale


House at 134 Saint Andrews Drive, Jackson, Mississippi                        received $350,777.38
Unencumbered                                                                  in proceeds from sale
                                                                               received $3,277.45
                                                                          from sale of household goods
                                                                                 on consignment

Settlement—Century Club Charities                                              received $56,944


Settlement—Berachah Church                                                     received $175,904


Settlement—R.B. Thieme, Jr.                                                  received $104,626.50


Settlement—Operation Grace World Missions                                      received $39,325


Returned proceeds—Techwood, LLC                                                received $309,000


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*Holding funds solely as an offset to UPS’s monetary liability for future claims the Receivership Estate
might have against UPS.




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